                    Case 4:07-cr-00124-BAE-GRS Document 53 Filed 10/11/07 Page 1 of 6
AO 245B ( Rev 12/03) Judgment in a C riminal Case
          Sheet 1




                                      United States District Court
                                                    SOUTHERN DISTRICT OF GEORGIA
                                                         SAVANNAH DIVISION

          UNITED STATES OF AMERIC A                                         JUDGMENT IN A CRIMINAL CAS E
                                V.
              Christopher A . Mauney                                        Case Number :              CR407-00124-001

                                                                            USM Number:                10116-02 1

                                                                            Robert Bates Lovett
                                                                            Defendant's Attorney

THE DEFENDANT :
[X] pleaded guilty to Count 2
       pleaded nolo contendere to Count(s) - which was accepted
       by the court .
       was found guilty on Count(s)_ after a plea of not guilty.

The defendant has been convicted of the following offense :


           Title & Section Nature of Offens e

           18 U .S .C . § 473             Dealing in counterfeit currency

       The defendant is sentenced as provided in pages 2 through 6 of this judgment . The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

[ ] The defendant has been found not guilty on count(s)_ .
[X] Count 1 is dismissed on the motion of the United States .


          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid . If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances .




                                                                                 October 11, 200 7
                                                                                 Date of Impos' on of Judgment



                                                                                 S ' nature o Judg e

                                                                                 B. Avant Edenfield
                                                                                 United States District Judg e
                                                                                 For the Southern District of Georgia
                                                                                 Name and Title of Judg e


                                                                                 Date
                  Case 4:07-cr-00124-BAE-GRS Document 53 Filed 10/11/07 Page 2 of 6
AO 245B ( Rev 12/03) Judgment in a C ri minal Case :                                                Judgment -Page 2 of 6
         Sheet 2 - Imprisonmen t

DEFENDANT : Christopher A. Mauney
CASE NUMBER : CR407-00124-001


                                                       IMPRISONMEN T
           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
           for a total term of. 46 months .

[X] The Court makes the following recommendations to the Bureau of Prisons :
      Designation to the facility in Jesup, Georgia, is recommended .


[X] The defendant is remanded to the custody of the United States Marshal .
[ ] The defendant shall surrender to the United States Marshal for this district :

               ] at - [ ] a.m. [ ] p.m. o n
               ] as notified by the United States Marshal .

[ ] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons :

           [ ] before 2 p .m. o n
           [ ] as notified by the United States Marshal .
           [ ] as notified by the Probation or Pretrial Services Office .
                                                          RETURN
          I have executed this judgment as follows :




          Defendant delivered on to
at , with a certified copy of this judgment .




                                                                                     United States Marshal


                                                                            By
                                                                                   Deputy United States Marshal
                Case 4:07-cr-00124-BAE-GRS Document 53 Filed 10/11/07 Page 3 of 6
AO 245B (Rev 12/03) Judgment in a Criminal Case                                                                                           Judgment-Page 3 of 6
       Sheet 3 - Supervised Releas e

DEFENDANT: Christopher A . Mauney
CASE NUMBER : CR407-00124-001
                                                           SUPERVISED RELEASE
Upon release from imprisonment , the defendant shall be on supervised releas e for a term of. 3 years        .


          The defend ant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons .

The defendant shall not commit an other federal , state, or local crime.

The defendant shall not unlawfully possess a controlled subst ance . The defend ant shall refrain from any unlawful use of a controlled subst ance . The
defend ant shall submit to one drug test within 15 days of release from imprisonment and at le ast two periodic drug tests thereafter , as determined by the
court.

II        The above drug testing condition is suspended, b as ed on the cou rt 's determination that the defendant poses a low risk of future subst ance abuse .
           (Check, if applicable. )

[X] The defendant shall not possess a firearm, destructive device, or any other dangerous weapon . (Check, if applicable .)

[X] The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable . )

          The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
          directed by the probation officer . (Check, if applicable .)

[ ] The defendant shall participate in an approved program for domestic violence . ( Check, if applicable.)

         If this judgment imposes a fine or restitution , it is a condition of superv ised release that the defend ant pay in accordance with the Schedule of
Payments sheet of this judgment .

          The defend ant must comply with the standard conditions that have been adopted by this cou rt as well as with an y additional conditions on the
attached page .

                                             STANDARD CONDITIONS OF SUPERVISIO N

1) the defendant shall not leave the judicial district without the permission of the court or probation officer ;

2) the defendan t shall repo rt to the probation officer an d shall submit a truthful and complete written report within the first five days of each month;

3) the defendant shall an swer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4) the defendan t shall support his or her dependents and meet other family responsibilities ;

5) the defendan t shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
       reas ons ;

6) the defendant shall notify the probation officer at least ten days pri or to any change in residence or employment ;
7) the defendant shall refrain from excessive use of alcohol an d shall not purch ase, possess, use, distribute , or administer any controlled substance
         or an y paraphe rnalia related to any controlled substances , except as prescribed by a physician ;

8) the defendan t shall not frequent places where controlled subst ances are illegally sold, used , distributed , or administered ;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless gr anted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere an d shall permit confiscation of any
       contraband observed in plain view of the probation o fficer;

11) the defendant shall notify the probation officer within seventy - two hours of being arrested or questioned by a law enforcement officer ;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
         of the court;

13)       as directed by the probation officer , the defendant shall notify third parties of risks that may be occ as ioned by the defend ant' s criminal record
          or personal history or characteristics an d shall permit the probation officer to make such notification an d to confirm the defendant's complian ce
          with such notification requirement; and

14) Any possession , use, or attempted use of any device to impede or evade drug testing shall be a violation of superv ised release .
                 Case 4:07-cr-00124-BAE-GRS Document 53 Filed 10/11/07 Page 4 of 6
AO 245B ( Rev 12/03) Judgment in a Criminal Case :                                                 Judgment-Page 4 of 6
        Sheet 3C - Su ervised Releas e


DEFENDANT : Christopher A . Mauney
CASE NUMBER : CR407-00124-00 1



                                             SPECIAL CONDITIONS OF SUPERVISION


1 . The defendant shall participate in a program of testing for drug and alcohol abuse and, if the Court
        determines it is necessary, the defendant shall participate in a program of treatment for drug and alcohol
        abuse.

2 . The defendant shall provide the probation officer with access to any requested financial information . The
        defendant shall not incur new credit charges or open additional lines of credit without the approval of the
        probation officer unless the defendant is in compliance with the installment payment schedule .


                                                     ACKNOWLEDGMEN T

Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision .

These conditions have been read to me . I fully understand the conditions and have been provided a copy of them .



     (Signed)
                     Defendant                                Dat e




                     U . S . Probation Officer/Designated Witness Date
                Case 4:07-cr-00124-BAE-GRS Document 53 Filed 10/11/07 Page 5 of 6
AO 245B (Rev 12/03) Judgment in a Criminal Case :                                                                           Judgment-Page 5 of 6
       Sheet 5 - Criminal Monetary Penalties


DEFENDANT : Christopher A. Mauney
CASE NUMBER: CR407-00124-00 1
                             CRIMINAL MONETARY PENALTIE S
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6 .

                                                          Assessment Fine Restitutio n

  Totals :                                                         $100 $2,500

     The determination of restitution is deferred until An Amended Judgment in a Criminal Case (AO 245C) will be entered after
         such a determination.

     The defendant must make restitution (including community restitution) to the following payees in the amounts listed below .

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
         otherwise in the priority order or percentage payment column below . However, pursuant to 18 U .S .C. § 3664(i), all nonfederal
         victims must be paid before the United States is paid .


             Name of Payee                          Total Loss* Restitution Ordered Priority or Percentag e




                 Totals :


          Restitution amount ordered pursuant to plea agreement               $

          The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
          the fifteenth day after the date of judgment, pursuant to 18 U .S .C . § 3612(f) . All of the payment options on Sheet 6 maybe subject
          to penalties for delinquency and default pursuant to 18 U .S .C . § 3612(g) .
II        The court determined that the defendant does not have the ability to pay interest and it is ordered that :

                     The interest requirement is waived for the [ ] fine [ ] restitution.
                     The interest requirement for the [ ] fine [ ] restitution is modified as follows :


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996 .
                Case 4:07-cr-00124-BAE-GRS Document 53 Filed 10/11/07 Page 6 of 6
AO 245B (Rev 12/03) Judgment in a Criminal Case :                                                                                Judgment-Page 6 of 6
        Sheet 6 - C ri minal Monetary Penaltie s


DEFENDANT : Christopher A. Mauney
CASE NUMBER : CR407-00124-001
                                                     SCHEDULE OF PAYMENT S

Having assessed the defendant's ability to pay, payment of the total c rimina l monetary penalties shall be due as follows :

A [X] Lump sum payment of $ 100 due immediately, balance du e

           [ ] not later than _; or
           [X] in accordance with [ ] C, [ ] D, [ ] E, or [X] F below ; or

B[ ] Payment to begin immediately (maybe combined with [ IC, [ ] D, or [ ] F below) ; or

C[ ] Payment in equal - (e .g ., weekly, monthly, quarterly) installments of Lover a period of_ (e.g ., months or years), to commence
       _ (e .g., 30 or 60 days) after the date of this judgment ; o r

D[ ] Payment in equal _ (e .g., weekly, monthly, quarterly) installments of Lover a period of _ (e .g., months or years), to commence
       _(e.g ., 30 or 60 days) after release from imprisonment to a term of supervision; or

E[ ] Payment during the term of supervised release will commence within - (eg ., 30 or 60 days) after release from imprisonment.
        the court will set the payment plan based on an assessment of the defendant's ability to pay at that time ; or

F [X] Special instructions regarding the payment of criminal monetary penalties : While in th e custody of the Bureau of Prisons, the
        defendant shall make payments of either quarterly installments of a minimum of $25 if working non-UNICOR or a minimum of
         50 percent of monthly earnings if working UNICOR . Upon release fr om imprisonment and while on supervised release, the
        defendant shall make minimum monthly payments of $125 over a period of 20 months . Payments are to be made payable to the
          Clerk, United States District Court.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment . All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court .
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed .


II        Joint and Severa l
             Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
             Amount, and corresponding payee, if appropriate :



II        The defendant shall pay the cost of prosecution .


II        The defendant shall pay the following court cost(s) :



          The defendant shall forfeit the defendant's interest in the following property to the United States :



Payments shall be applied in the following order: (1) assessment ; (2) restitution principal; (3) restitution interest ; (4) fine principal ; (5) fine
interest; (6) community restitution ; (7) penalties, and (8) costs, including cost of prosecution and court costs .
